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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

                                                      Case No. 2:13-cr-00072-JES-UAM
 UNITED STATES OF AMERICA,

        Plaintiff

 v.

 DAVID LEON FREDERICK, and
 PATRICIA LYNN HOUGH

       Defendants.
 ___________________________________/

              DEFENDANT PATRICIA LYNN HOUGH RENEWED MOTION FOR
                   EARLY TERMINATION OF SUPERVISED RELEASE

        COMES NOW, the Defendant Patricia Lynn Hough, by and through the undersigned

 counsel, and hereby files this Renewed Motion for Early Termination of Supervised Release, and

 in support thereof states as follows:

        1.      On January 22, 2016, this Honorable Court resentenced Dr. Hough, releasing her

 from further incarceration by sentencing her to time served, imposing a term of supervised

 release for a period of three years [DE 243 p. 3].     Her period of supervised release is set to

 terminate this January.

        2.       Under 18 U.S.C. § 3583(e), the Court has authority to grant early termination of a

 previously imposed term of supervised release. §3583(e)(1) provides:

        (e)     Modification of conditions or revocation.– The court may, after considering the
                factors set forth in section 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4),
                (a)(5), (a)(6), and (a)(7)

                        (1)     terminate a term of supervised release and discharge the defendant
                                released at any time after the expiration of one year of
                                supervised release, pursuant to the provisions of the Federal Rules
                                of Criminal Procedure relating to the modification of probation, if
                                it is satisfied that such action is warranted by the conduct of the
                                defendant released and the interest of justice.
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         3.       On August 1, 2017, Dr. Hough moved the Court for early termination of her

 supervised release (DE 271). The Government opposed that motion (DE 272). In its August 1,

 2017 Order (DE 273), the Court denied the motion cited to the Defendant’s outstanding

 restitution.

         4.       Dr. Hough, although 71 years of age, has been employed full-time in demanding

positions at non-profit organizations since beginning her term of supervised release.                                From

January 2016 through July 2017, she worked for minimum wage at an animal rescue center where

she trained volunteers, supervised adoptions, and provided medical care to sick animals.

         5.       In August, 2017, Dr. Hough was appointed to the position of Medical Director of

the American Medical Resources Foundation, where she had served as a volunteer since 2004.

As the Medical Director, she has made two trips to Senegal to evaluate hospitals and clinics. In

addition, she organized a medical care program for trafficked boys at a church sponsored center.

As a result of her efforts, a 40 foot container will depart May 4, 2018, carrying equipment for the

Barthimee Hospital and two village clinics in Senegal. She has also assumed new duties to

establish international hospital liaisons for the medical care of African children with rare diseases

and heart defects. The difficulties Dr. Hough faces when travelling abroad are detailed in the

attached letter from the President of the AMRF, attached hereto as Exhibit “A”.

         6.       Dr. Hough has volunteered regularly for over a year and a half as a psychiatrist at

a free medical clinic in Nokomis, FL. There, she treats uninsured and opioid addicted patients.

She also continues to volunteer for her former employer, St. Francis Animal Rescue, as well as

remaining active in her church as part of the community care committee.




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         7.       Dr. Hough has spent more than one year completing all of the requirements of the

 Florida Board of Medical Quality Assurance and Board of Medicine, to have her full medical

 license reinstated. The stringent requirements by those boards included attendance at monthly

 supervisory meetings, two appearances before the Board, and fulfillment of special continuing

 medical education requirements. It is unlikely she will ever find higher paying employment in

 any organization as she remains a convicted felon, has suffered the loss of her medical board

 certification, and is unable to obtain malpractice insurance.

         8.       Dr. Hough has complied with all requests by the U.S. Marshal’s office and the

 IRS.

         9.       Dr. Hough has been cooperative and conscientious about payment of Court

 ordered restitution to the U.S. Attorney’s Office-Middle District, Financial Litigation Unit.

 Since February 2016, the U.S. Attorney’s office has received 15% of her Social Security check

 as part of the government off-set program.

         10.      On November 17, 2016, Dr. Hough voluntarily entered into a formal Payment

 Agreement with the U.S. Attorney’s office. See, Exhibit “B” attached hereto. This Payment

 Agreement includes provisions for the sale of her home and liquidation of retirement and savings

 accounts.     The amounts paid thus far to the DOJ are as follows:                            Valic Pension Plan:

 $363.564.36, Vanguard Tax Free Bond: $339.150.18; Money Market Bank of America

 approximately $50,000, plus $50,000 cash (which sum was loaned to her by her sister).                               See,

 Payment Agreement attached hereto as Exhibit “B”.

         11.      The home is still listed for sale per the terms of the Payment Agreement. Once

 sold, the Government will receive 75% of the sale proceeds to be applied to her outstanding

 restitution. The remaining 25% of the proceeds from the sale will be applied to her outstanding

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 fee obligation to her previous attorneys. In the meantime, the Government’s position is protected

 by a lien on said property. See, Exhibit “C” attached hereto.

        12.      Further, with regard to her outstanding restitution, the IRS has closed its case, and

 deemed it “Currently Not Collectible”. See, IRS letter dated March 6, 2018 attached hereto as

 Exhibit “D”.

        13.      As Dr. Hough has successfully completed more than two thirds of her period of

 supervised release in an exemplary and extraordinary fashion, she now seeks early termination of

 her supervision so that she can effectively continue her role as Medical Director of the American

 Medical Resources Foundation (“AMRF”), which requires that she travel abroad, specifically to

 Canada and the United Kingdom. Both of these countries have entry restrictions placed on

 anyone on supervised release. See, letter from Victor Sologaistoa, President and CEO of AMRF

 attached hereto as Exhibit “A”.

        14.      The assistant to the undersigned has conferred with Dr. Hough’s probation

 officer, John Holderman.          Mr. Holderman has confirmed that Dr. Hough has been fully

 compliant with all the conditions of her release and that he does not oppose the relief requested.

 Nevertheless, the prosecutor continues to oppose early termination of supervised release.

        15.      This motion is made in good faith.

        WHEREFORE, the Defendant’s respectfully requests that this Court enter an order

 immediately terminating the Defendant’s period of supervised release, and for all other and

 further relief this Court deems just and proper.




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 Dated: May 2, 2018
                                                                Respectfully submitted,

                                                                BRUCE L. UDOLF, P.A.
                                                                Counsel for Defendant Hough
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                                                                By: /s/ Bruce L. Udolf




                                      CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed
 electronically using the Court’s CM/ECF system, on this 2nd day of May, 2018.

                                                                         By: /s/ Bruce L. Udolf




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